       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 1 of 20




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CITIZENS INSURANCE       )
COMPANY OF AMERICA;      )
MASSACHUSETTS BAY        )
INSURANCE COMPANY        )
                         )
     Plaintiffs,         )                    CIVIL ACTION FILE
                         )
v.                       )                    NO. 1:19-CV-05292-MHC
                         )
BANYAN TREE MANAGEMENT, )
LLC; ALBANY DOWNTOWN     )
HOTEL PARTNERS, LLC; and )
JANE DOE,                )
                         )
     Defendants          )

                  ANSWER TO AMENDED COUNTERCLAIM

      COME NOW Plaintiffs/Counterclaim Defendants Citizens Insurance

Company of America (“Citizens”) and Massachusetts Bay Insurance Company

(“Massachusetts     Bay)     (collectively,   “Hanover”),     and   responds   to

Defendant/Counterclaim Plaintiff Albany Downtown Hotel Partners, LLC’s

(“Albany”) Amended Counterclaim as follows:

                           Parties, Jurisdiction, and Venue

      1.    Upon information and belief, Hanover admits the allegations of

Paragraph 1 of Albany’s Counterclaim.

                                          1
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 2 of 20




      2.     Admitted.

      3.     Admitted.

      4.     Hanover admits that complete diversity of citizenship exists between

Albany and Hanover. To the extent Paragraph 4 states a legal conclusion, no

response is required.

      5.     Hanover admits that it filed the above-captioned action in this Court.

To the extent Paragraph 5 states a legal conclusion, no response is required.

      6.     Paragraph 6 states a legal conclusion to which no response is required.

                                Factual Allegations

      7.     Hanover admits that Jane Doe filed a lawsuit against Albany, Banyan

Tree Management, LLC; Hilton Franchise Holding, LLC; and Hilton Worldwide

Holdings, Inc. in the Circuit Court of Fairfax County, Virginia styled Jane Doe v.

Hilton Worldwide Holdings Inc., et al., CL-2018-16980 (the “Virginia Action”).

Hanover admits that Citizens issued Policy No. ZBY A617294 00 to Albany for the

policy period of April 21, 2015 to April 21, 2016.             Hanover admits that

Massachusetts Bay issued to Albany Policy No. ZBY A617294 01 for the policy

period of April 21, 2016 to April 21, 2017 and Policy No. ZBY A617294 02 for the

policy period of April 21, 2017 to April 21, 2018, both of which contain commercial

general liability coverage parts. Hanover denies that Albany is entitled to any relief.

                                          2
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 3 of 20




Except as expressly admitted, Hanover denies the remaining allegations contained

within Paragraph 7 and demands strict proof thereof.

      8.    Hanover admits that in the Virginia Action, Jane Doe asserted claims

similar to those at issue in her civil lawsuit captioned Jane Doe v. Banyan Tree

Management LLC et al., Civil Action File No. 19-C-04673-S3, filed on July 2, 2019

in the State Court of Gwinnet County, Georgia (“Underlying Action”).            The

allegations contained in Paragraph 8 refer to written documents, the terms of which

speak for themselves. To the extent Albany attempts to paraphrase, summarize, or

characterize the content of written documents, Hanover denies the allegations

contained in Paragraph 8. Except as expressly admitted, Hanover denies the

remainder of the allegations contained within Paragraph 8 and demands strict proof

thereof.

      9.    Hanover admits that Albany requested that it defend and indemnify

Hilton for the claims asserted against Hilton in the Virginia Action. To the extent

the allegations contained in Paragraph 9 are not directed to Hanover, no response is

required. Except as expressly admitted, Hanover denies the remainder of the

allegations contained within Paragraph 9 and demands strict proof thereof.

      10.   The allegations contained in Paragraph 10 refer to written documents,

the terms of which speak for themselves. To the extent Albany attempts to

                                         3
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 4 of 20




paraphrase, summarize, or characterize the content of written documents, Hanover

denies the allegations contained in Paragraph 10. The allegations contained in

Paragraph 10 are not directed to Hanover, no response is required from Hanover. To

the extent a response is required, Hanover denies the allegations contained within

Paragraph 10 and demands strict proof thereof.

      11.    Hanover denies that Albany’s defense and indemnity obligations to

Hilton for the claims asserted in the Virginia Action are covered under the Policies.

The allegations contained in Paragraph 11 refer to written documents, the terms of

which speak for themselves. To the extent Albany attempts to paraphrase,

summarize, or characterize the content of written documents, Hanover denies the

allegations contained in Paragraph 11. Hanover denies the remainder of the

allegations contained within Paragraph 11 and demands strict proof thereof.

      12.    To the extent the allegations contained in Paragraph 12 are not directed

to Hanover, no response is required. The allegations contained in Paragraph 12 refer

to written documents, the terms of which speak for themselves. To the extent Albany

attempts to paraphrase, summarize, or characterize the content of written documents,

Hanover denies the allegations contained in Paragraph 12 and demands strict proof

thereof.




                                         4
        Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 5 of 20




      13.    Hanover denies that it is obligated to reimburse the McGuireWoods’

fees and expenses incurred in defending the Virginia Action. To the extent the

allegations contained in Paragraph 13 refer to written documents, the terms of which

speak for themselves. To the extent Albany attempts to paraphrase, summarize, or

characterize the content of written documents, Hanover denies the allegations

contained in Paragraph 13. Hanover denies the remainder of the allegations

contained within Paragraph 13 and demands strict proof thereof.

      14.    The allegations contained in Paragraph 14 are not directed to Hanover;

therefore, no response is required from Hanover. To the extent that a response is

required, Hanover denies the allegations contained in Paragraph 14 and demands

strict proof thereof.

      15.    The allegations contained in Paragraph 15 refer to written documents,

the terms of which speak for themselves. To the extent Albany attempts to

paraphrase, summarize, or characterize the content of written documents, Hanover

denies the allegations contained in Paragraph 15. To the extent the allegations

contained in Paragraph 15 are not directed to Hanover, no response is required.

Hanover denies the remainder of the allegations contained in Paragraph 15 and

demands strict proof thereof.




                                         5
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 6 of 20




      16.    The allegations contained in Paragraph 16 refer to written documents,

the terms of which speak for themselves. To the extent Albany attempts to

paraphrase, summarize, or characterize the content of written documents, Hanover

denies the allegations contained in Paragraph 16 and demands strict proof thereof.

      17.    The allegations contained in Paragraph 17 and subparagraphs 17a. –

17e. refer to written documents, the terms of which speak for themselves. To the

extent Albany attempts to paraphrase, summarize, or characterize the content of

written documents, Hanover denies the allegations contained in Paragraph 17 and

subparagraphs 17a. – 17e. and demands strict proof thereof.

      18.    The allegations contained in Paragraph 18 refer to a written document,

the terms of which speak for itself. To the extent Albany attempts to paraphrase,

summarize, or characterize the content of a written document, Hanover denies the

allegations contained in Paragraph 18 and demands strict proof thereof. Hanover

denies the remainder of the allegations contained in Paragraph 18 and demands strict

proof thereof.

      19.    The allegations contained in Paragraph 19 refer to a written document,

the terms of which speak for itself. To the extent Albany attempts to paraphrase,

summarize, or characterize the content of a written document, Hanover denies the

allegations contained in Paragraph 19 and demands strict proof thereof. Hanover

                                         6
        Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 7 of 20




denies the remainder of the allegations contained in Paragraph 19 and demands strict

proof thereof.

      20.    Hanover admits that it had knowledge of McGuireWoods’ defense of

Hilton in the Virginia Action. Except as expressly admitted, Hanover denies the

allegations contained in Paragraph 20 and demands strict proof thereof.

      21.    The allegations contained in Paragraph 21 refer to a written document,

the terms of which speak for itself. To the extent Albany attempts to paraphrase,

summarize, or characterize the content of a written document, Hanover denies the

allegations contained in Paragraph 21 and demands strict proof thereof.

      22.    Hanover admits that it issued a payment to Albany on June 4, 2020.

The allegations contained in Paragraph 22 refer to a written document, the terms of

which speak for itself. To the extent Albany attempts to paraphrase, summarize, or

characterize the content of a written document, Hanover denies the allegations

contained in Paragraph 22 and demands strict proof thereof.

      23.    Hanover denies the allegations contained in Paragraph 23 and demands

strict proof thereof.

      24.    Hanover denies the allegations contained in Paragraph 24 and demands

strict proof thereof.




                                         7
        Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 8 of 20




      25.    Hanover denies the allegations contained in Paragraph 25 and demands

strict proof thereof.

                 COUNT ONE (DECLARATORY JUDGMENT)

      26.    Hanover adopts and incorporates its responses to the Paragraph 1

through 25 as if fully set forth herein.

      27.    Hanover denies the allegations contained in Paragraph 27 and demands

strict proof thereof.

      28.    Hanover denies the allegations contained in Paragraph 28 and demands

strict proof thereof.

      29.    Hanover denies the allegations contained in Paragraph 29 and demands

strict proof thereof.

      30.    Hanover denies the allegations contained in Paragraph 30 and demands

strict proof thereof.

      31.    Hanover denies the allegations contained in Paragraph 31 and demands

strict proof thereof.

      Hanover denies the prayer for relief following Paragraph 31 of Albany’s

Amended Counterclaim and demands strict proof thereof.

                COUNT TWO (DECLARATORY JUDGMENT)




                                           8
        Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 9 of 20




      32.    Hanover adopts and incorporates its responses to the Paragraph 1

through 25 as if fully set forth herein.

      33.    Hanover denies the allegations contained in Paragraph 33 and demands

strict proof thereof.

      34.    Hanover denies the allegations contained in Paragraph 34 and demands

strict proof thereof.

      35.    Hanover denies the allegations contained in Paragraph 35 and demands

strict proof thereof.

      Hanover denies the prayer for relief following Paragraph 35 of Albany’s

Amended Counterclaim and demands strict proof thereof.

               COUNT THREE (DECLARATORY JUDGMENT)

      36.    Hanover adopts and incorporates its responses to the Paragraph 1

through 25 as if fully set forth herein.

      37.    Hanover admits that it is entitled to reimbursement of any amounts it

paid in defense of the Virginia Action.

      38.    Hanover denies the allegations contained in Paragraph 38 and demands

strict proof thereof.

      39.    Hanover denies the allegations contained in Paragraph 39 and demands

strict proof thereof.

                                           9
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 10 of 20




      Hanover denies the prayer for relief following Paragraph 39 of Albany’s

Amended Counterclaim and demands strict proof thereof.

                  COUNT FOUR (BREACH OF CONTRACT)

      40.    Hanover adopts and incorporates its responses to the Paragraph 1

through 25 as if fully set forth herein.

      41.    Hanover admits that it issued the Policies referenced in response to

Paragraph 7.     Except as expressly admitted, Hanover denies the allegations

contained in Paragraph 41 and demands strict proof thereof.

      42.    Hanover denies the allegations contained in Paragraph 42 and demands

strict proof thereof.

      43.    Hanover denies the allegations contained in Paragraph 43 and demands

strict proof thereof.

      44.    Hanover denies the allegations contained in Paragraph 44 and demands

strict proof thereof.

      45.    Hanover denies the allegations contained in Paragraph 45 and demands

strict proof thereof.

      46.    Hanover denies the allegations contained in Paragraph 46 and demands

strict proof thereof.




                                           10
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 11 of 20




      Hanover denies the prayer for relief following Paragraph 46 and demands strict

proof thereof.

                 COUNT FIVE (IMPLIED OBLIGATION TO PAY
                          UNDER O.C.G.A. § 9-2-7)

      47.    Hanover adopts and incorporates its responses to the Paragraph 1

through 25 as if fully set forth herein.

      48.    The allegations contained in Paragraph 48 are not directed to Hanover;

therefore, no response is required from Hanover. To the extent a response is

required, Hanover denies the allegations contained within Paragraph 48 and

demands strict proof thereof.

      49.    Hanover denies the allegations contained in Paragraph 49 and demands

strict proof thereof.

      50.    Hanover denies the allegations contained in Paragraph 50 and demands

strict proof thereof.

      Hanover denies the prayer for relief following Paragraph 50 of Albany’s

Amended Counterclaim and demands strict proof thereof.

                        COUNT SIX (QUANTUM MERIUT)

      51.    Hanover adopts and incorporates its responses to the Paragraph 1

through 25 as if fully set forth herein.



                                           11
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 12 of 20




      52.    The allegations contained in Paragraph 52 are not directed to Hanover;

therefore, no response is required from Hanover. To the extent a response is

required, Hanover denies the allegations contained within Paragraph 52 and

demands strict proof thereof.

      53.    Hanover denies the allegations contained in Paragraph 53 and demands

strict proof thereof.

      54.    Hanover denies the allegations contained in Paragraph 54 and demands

strict proof thereof.

             Hanover denies the prayer for relief following Paragraph 54 of Albany’s

Amended Counterclaim and demands strict proof thereof.

               COUNT SEVEN (BAD FAITH REFUSAL TO PAY
                       UNDER O.C.G.A. § 33-4-6)

      55.    Hanover adopts and incorporates its responses to the Paragraph 1

through 25 as if fully set forth herein.

      56.    Hanover admits that it issued the Policies referenced in response to

Paragraph 7.     Except as expressly admitted, Hanover denies the allegations

contained in Paragraph 56 and demands strict proof thereof.

      57.    Hanover denies the allegations contained in Paragraph 57 and demands

strict proof thereof.



                                           12
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 13 of 20




      58.    Hanover denies the allegations contained in Paragraph 58 and demands

strict proof thereof.

      59.    Hanover denies the allegations contained in Paragraph 59 and demands

strict proof thereof.

      60.    Hanover denies the allegations contained in Paragraph 60 and demands

strict proof thereof.

      61.    The allegations contained in Paragraph 61 refer to a written document,

the terms of which speak for itself. To the extent Albany attempts to paraphrase,

summarize, or characterize the content of a written document, Hanover denies the

allegations contained in Paragraph 61 and demands strict proof thereof.

      62.    The allegations contained in Paragraph 62 refer to written documents,

the terms of which speak for themselves. To the extent Albany attempts to

paraphrase, summarize, or characterize the content of written documents, Hanover

denies the allegations contained in Paragraph 62 and demands strict proof thereof.

Hanover denies the remainder of the allegations contained in Paragraph 62.

             Hanover denies the prayer for relief following Paragraph 62 of Albany’s

Amended Counterclaim and demands strict proof thereof.




                                        13
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 14 of 20




                            AFFIRMATIVE DEFENSES

      Further answering by way of defense and affirmative defense, Hanover states

as follows:

                          FIRST AFFIRMATIVE DEFENSE

      Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Albany’s

Amended Counterclaim, and each purported cause of action alleged therein, fails to

state a claim against Hanover upon which relief can be granted.

                      SECOND AFFIRMATIVE DEFENSE

      Hanover states that Albany’s Amended Counterclaim should be dismissed

pursuant to Rule 19 of the Federal Rules of Civil Procedure for failure to join

necessary and indispensable parties.

                          THIRD AFFIRMATIVE DEFENSE

      Albany lacks standing or is not the proper party in interest to assert some or

all of the claims in its Amended Counterclaim.

                      FOURTH AFFIRMATIVE DEFENSE

      Albany’s claims are barred because it does not have a contractual or any

other right to recover.

                          FIFTH AFFIRMATIVE DEFENSE

      Hanover denies each and every allegation of Albany’s Amended

                                         14
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 15 of 20




Counterclaim not expressly admitted, and demands strict proof thereof.

                       SIXTH AFFIRMATIVE DEFENSE

      Hanover contests the existence and/or the amount of damages Albany seeks

to recover and demands strict proof thereof.

                      SEVENTH AFFIRMATIVE DEFENSE

      Hanover denies that any representations were made to Albany; Albany did not

rely on any representations to its detriment; and/or any reliance by Albany on any

alleged representations was not reasonable.

                      EIGHTH AFFIRMATIVE DEFENSE

      Hanover denies that it breached any contract with Albany.

                       NINTH AFFIRMATIVE DEFENSE

      Albany’s claims are barred or limited by any and all terms, conditions, and/or

exclusions of the Policies identified in Paragraph 7. Hanover asserts that the

requirements of the insuring agreement of the Policies are not satisfied; the

conditions precedent to coverage are not satisfied; and/or the claims are excluded

under the Policies.

                       TENTH AFFIRMATIVE DEFENSE

      Hanover asserts that Albany is not entitled to benefits under the Hanover

Policies at issue.

                                        15
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 16 of 20




                   ELEVENTH AFFIRMATIVE DEFENSE

      There is no causal connection between the allegations against Hanover and

the injuries and damages alleged in Albany’s Amended Counterclaim.

                   TWELFTH AFFIRMATIVE DEFENSE

      Hanover pleads the affirmative defenses of waiver and estoppel.

                 THIRTEENTH AFFIRMATIVE DEFENSE

      Albany’s causes of action are barred by the failure of consideration.

                 FOURTEENTH AFFIRMATIVE DEFENSE

      Hanover pleads the doctrine of voluntary payment.

                  FIFTEENTH AFFIRMATIVE DEFENSE

      Hanover strictly denies Albany’s claim for damages, and demands strict proof

thereof.

                  SIXTEENTH AFFIRMATIVE DEFENSE

      Hanover pleads the affirmative defense of laches.

                SEVENTEENTH AFFIRMATIVE DEFENSE

      Hanover pleads the defense of setoff.

                 EIGHTEENTH AFFIRMATIVE DEFENSE

      Hanover pleads the defense of accord and satisfaction.




                                        16
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 17 of 20




                   NINETEENTH AFFIRMATIVE DEFENSE

      Hanover pleads the defense of payment.

                   TWENTIETH AFFIRMATIVE DEFENSE

      Hanover pleads the defense of release.

                 TWENTY-FIRST AFFIRMATIVE DEFENSE

      Hanover pleads the defense of statute of frauds.

                TWENTY-SECOND AFFIRMATIVE DEFENSE

      None of the facts relating to any action, determination, or conduct of Hanover

involved in this dispute give rise to, or support, any claim or cause of action for

contractual or extra-contractual liability.

                 TWENTY-THIRD AFFIRMATIVE DEFENSE

      All determinations made by Hanover regarding this dispute were made in

good faith based on the legitimate reading and application of the terms, provisions,

exclusions, and obligations as defined in the applicable insurance policy.

                TWENTY-FOURTH AFFIRMATIVE DEFENSE

      Hanover affirmatively pleads that Albany is entitled to no further benefits or

coverage under the Policies for any claimed loss at issue.

                 TWENTY-FIFTH AFFIRMATIVE DEFENSE

      Hanover affirmatively asserts that it had reasonable basis, factual and legal

                                              17
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 18 of 20




justification for its coverage decision regarding Albany’s claims.

                  TWENTY-SIXTH AFFIRMATIVE DEFENSE

       Hanover denies it is liable for punitive damages and demands strict proof

thereof.

                TWENTY-SEVENTH AFFIRMATIVE DEFENSE

       With respect to any claims for punitive damages, Hanover incorporates by

reference all standards and limitations regarding the determination, limitation, and

enforceability of punitive damage awards under state and federal statutory and case

law.

                 TWENTY-EIGHTH AFFIRMATIVE DEFENSE

       Any award of punitive damages would violate Hanover’s due process rights and

other constitution safeguards under the United States Constitution and applicable

state law, including but not limited to the following provisions, jointly and

individually:

       (a)      The Eighth Amendment of the Constitution of the United States.

       (b)      The Fourteenth Amendment of the Constitution of the United States.

       (c)      The Fifth Amendment of the Constitution of the United States.

       (d)      The Tenth Amendment of the Constitution of the United States.

       (e)      The Fourth Amendment of the Constitution of the United States.

                                         18
      Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 19 of 20




      (f)     Sixth Amendment to the Constitution of the United States

                TWENTY-NINTH AFFIRMATIVE DEFENSE

      Hanover reserves the right to assert such additional defenses as they are

ascertained through discovery.

      WHEREFORE, Hanover requests this Court dismiss Albany’s Amended

Counterclaim, enter judgment in favor of Hanover, including costs and fees, and all

other relief this Court deems appropriate.

                                             Respectfully submitted,

                                             /s/ Kenneth W. Boyles, Jr.
                                             Joel S. Isenberg
                                             Georgia Bar No.: 108253
                                             Susan H. McCurry
                                             Georgia Bar No.: 340555
                                             Kenneth W. Boyles
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                                             Counsel for Plaintiffs
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                                             and Massachusetts Bay Insurance Company

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                                         19
       Case 1:19-cv-05292-MHC Document 57 Filed 07/27/20 Page 20 of 20




                         CERTIFICATE OF SERVICE

      I do hereby certify that a true and accurate copy of the foregoing has been

filed with the Clerk of Court and served on all parties of record via the CM/ECF

electronic filing system and/or U.S. Mail on this the 27th day of July, 2020.

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                                              /s/ Kenneth W. Boyles, Jr.
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